       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Michael Jonthan Garland Saunders
        v. Commonwealth of Virginia
        Record No. 1630-12-2
        Opinion rendered by Judge Huff on
        February 4, 2014

    2. William Lloyd Henry
        v. Commonwealth of Virginia
        Record No. 0631-13-2
        Opinion rendered by Judge Petty on
        February 18, 2014

    3. George Wesley Huguely, V
        v. Commonwealth of Virginia
        Record No. 1697-12-2
        Opinion rendered by Judge Beales on
        March 4, 2014

    4. Cindy Lynn Whitehurst
        v. Commonwealth of Virginia
        Record No. 0531-13-1
        Opinion rendered by Judge Frank on
        March 11, 2014

    5. Alexander J. Dennos, Jr.
       v. Commonwealth of Virginia
       Record No. 0635-13-1
       Opinion rendered by Judge Kelsey on
        March 11, 2014
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Virginia Marine Resources Commission
   v. Chincoteague Inn and Raymond Britton
   Record No. 0086-12-1
   En Banc opinion rendered by Judge Huff
    on January 8, 2013
   Judgment of Court of Appeals reversed and matter remanded to this Court
     for further proceedings by opinion rendered on April 17, 2014 (130239)

2. Darcella Reed
   v. Commonwealth of Virginia
   Record No. 1280-12-1
   Opinion rendered by Judge Beales
    on August 6, 2013
   Refused (131388)

3. Boyd B. Hedleston
   v. Virginia Retirement System
   Record No. 0725-13-2
   Opinion rendered by Senior Judge Bumgardner
    on December 3, 2013
   Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2), (B)(140002)
